        Case 4:23-cv-04155-YGR Document 161-1 Filed 02/17/24 Page 1 of 3


From:            France, Robert (BOP)
To:              Kara Janssen; Susan Beaty
Cc:              Mattioli, Madison (USAMT); Cziok, Abbie (USAMT); Tatarka, Tim (USAMT); Smith, Mark (USAMT);
                 amaris@rightsbehindbars.org; Luma Khabbaz; Adrienne Spiegel; Ernest Galvan;
                 carson.anderson@arnoldporter.com; stephen.cha-kim@arnoldporter.com
Subject:         RE: RDAP Transfers Tomorrow [IMAN-DMS.FID66630]
Date:            Wednesday, December 27, 2023 11:00:56 AM


Good morning Kara,

  KC was not put on the bus to transfer to RDAP this morning. Since we did not hear from you at
close of business last night, we needed to make a decision. You indicated below that you expected
BOP would make KC available to testify remotely at the hearing next week if she left this morning.
Since we wanted to safeguard against a scenario where transit might make her unavailable to testify
remotely, it was determined it was best for her to remain at the facility so as to not impact her
ability to testify. She will be on the next move to the RDAP facility in January, and this decision does
not adversely affect her ability to timely complete her programming and earn requisite credits.

Thanks,
Rob


From: Kara Janssen <KJanssen@rbgg.com>
Sent: Wednesday, December 27, 2023 9:00 AM
To: France, Robert (BOP) <Rfrance@bop.gov>; Susan Beaty <susan@ccijustice.org>
Cc: Mattioli, Madison (USAMT) <MMattioli@usa.doj.gov>; Cziok, Abbie (USAMT)
<ACziok@usa.doj.gov>; Tatarka, Tim (USAMT) <TTatarka@usa.doj.gov>; Smith, Mark (USAMT)
<MSmith4@usa.doj.gov>; amaris@rightsbehindbars.org; Luma Khabbaz <LKhabbaz@rbgg.com>;
Adrienne Spiegel <ASpiegel@rbgg.com>; Ernest Galvan <EGalvan@rbgg.com>;
carson.anderson@arnoldporter.com; stephen.cha-kim@arnoldporter.com
Subject: [EXTERNAL] RE: RDAP Transfers Tomorrow [IMAN-DMS.FID66630]

All,

KC called me this morning to say she was told she will not be transferring to RDAP. She does want to
transfer and would prefer to transfer even if it means she is unable to testify. Please advise.

Thank you,

Kara


From: Kara Janssen
Sent: Tuesday, December 26, 2023 3:30 PM
To: France, Robert (BOP) <Rfrance@bop.gov>; Susan Beaty <susan@ccijustice.org>
Cc: Mattioli, Madison (USAMT) <Madison.Mattioli@usdoj.gov>; Cziok, Abbie (USAMT)
<Abbie.Cziok@usdoj.gov>; Tatarka, Tim (USAMT) <Tim.Tatarka@usdoj.gov>; Smith, Mark (USAMT)
<Mark.Smith3@usdoj.gov>; amaris@rightsbehindbars.org; Luma Khabbaz <LKhabbaz@rbgg.com>;
Adrienne Spiegel <aspiegel@rbgg.com>; Ernest Galvan <EGalvan@rbgg.com>;
        Case 4:23-cv-04155-YGR Document 161-1 Filed 02/17/24 Page 2 of 3


carson.anderson@arnoldporter.com; stephen.cha-kim@arnoldporter.com
Subject: RE: RDAP Transfers Tomorrow [IMAN-DMS.FID66630]

Rob,

Our understanding is that MH does not want to transfer and previously submitted requests not to be
transferred after she was first informed of this transfer following our visit on 12/21.

I am waiting on confirmation from KC and will respond as quickly as I can once I receive confirmation
from her. If KC is transferred, the Court has procedures for individuals to testify remotely and we
would expect BOP would cooperate in making her available remotely to testify through those
procedures.

Best,

Kara Janssen
Senior Counsel



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kjanssen@rbgg.com

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From: France, Robert (BOP) <Rfrance@bop.gov>
Sent: Tuesday, December 26, 2023 12:01 PM
To: Susan Beaty <susan@ccijustice.org>
Cc: Mattioli, Madison (USAMT) <Madison.Mattioli@usdoj.gov>; Cziok, Abbie (USAMT)
<Abbie.Cziok@usdoj.gov>; Tatarka, Tim (USAMT) <Tim.Tatarka@usdoj.gov>; Smith, Mark (USAMT)
<Mark.Smith3@usdoj.gov>; amaris@rightsbehindbars.org; Kara Janssen <KJanssen@rbgg.com>;
Luma Khabbaz <LKhabbaz@rbgg.com>; Adrienne Spiegel <ASpiegel@rbgg.com>; Ernest Galvan
<EGalvan@rbgg.com>; carson.anderson@arnoldporter.com; stephen.cha-kim@arnoldporter.com
Subject: RDAP Transfers Tomorrow
Importance: High

[EXTERNAL MESSAGE NOTICE]
Good afternoon Susan,
      Case 4:23-cv-04155-YGR Document 161-1 Filed 02/17/24 Page 3 of 3


   It was brought to my attention that you have two prospective witnesses that are due for transfer
tomorrow for RDAP-related purposes with the initials MH and KC. Their paperwork was processed
well before this hearing was set and witness lists were released. Please reach out to your clients and
ask whether they still wish to be transferred as previously scheduled or whether they wish to be
present for the hearing, in which case they would have to be transferred at a later date if they still
wanted to participate in RDAP. I understand that everyone has a lot to do in the next few days, but I
will require an answer in writing from you by COB this evening, as this is a time-sensitive request.

Thank you,
Rob
